Case 18-11439-mdc   Doc 17-3 Filed 04/26/18 Entered 04/26/18 18:21:44   Desc
                            Exhibit B Page 1 of 7
Case 18-11439-mdc   Doc 17-3 Filed 04/26/18 Entered 04/26/18 18:21:44   Desc
                            Exhibit B Page 2 of 7
Case 18-11439-mdc   Doc 17-3 Filed 04/26/18 Entered 04/26/18 18:21:44   Desc
                            Exhibit B Page 3 of 7
Case 18-11439-mdc   Doc 17-3 Filed 04/26/18 Entered 04/26/18 18:21:44   Desc
                            Exhibit B Page 4 of 7
Case 18-11439-mdc   Doc 17-3 Filed 04/26/18 Entered 04/26/18 18:21:44   Desc
                            Exhibit B Page 5 of 7
Case 18-11439-mdc   Doc 17-3 Filed 04/26/18 Entered 04/26/18 18:21:44   Desc
                            Exhibit B Page 6 of 7
Case 18-11439-mdc   Doc 17-3 Filed 04/26/18 Entered 04/26/18 18:21:44   Desc
                            Exhibit B Page 7 of 7
